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                   8                               UNITED STATES DISTRICT COURT

                   9                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

                 10 APPLE INC., a California corporation,               CASE NO. 11-cv-01846-LHK (PSG)
                 11                  Plaintiff,
                                                                        [PROPOSED] ORDER GRANTING
                 12         vs.                                         SAMSUNG’S ADMINISTRATIVE
                                                                        MOTION TO FILE UNDER SEAL
                 13 SAMSUNG ELECTRONICS CO., LTD., a
                    Korean business entity; SAMSUNG
                 14 ELECTRONICS AMERICA, INC., a New
                    York corporation; SAMSUNG
                 15 TELECOMMUNICATIONS AMERICA,
                    LLC, a Delaware limited liability company,
                 16
                                  Defendants.
                 17

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                 19         Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung
                 20 Telecommunications America, LLC (collectively, “Samsung”) have filed Samsung’s

                 21 Administrative Motion to File Under Seal.

                 22         Having considered Samsung’s motion, and good cause having been shown, the Court
                 23 GRANTS Samsung’s motion and ORDERS sealed:

                 24               1. Portions of Exhibit A to the Declaration of Susan Estrich in Support of Samsung’s
                                     Motion for Relief from Nondispositive Pretrial Order of Magistrate Judge (re:
                 25                  Docket No. 2483), Order re: Apple’s Motion for Sanctions.
                 26
                            IT IS SO ORDERED.
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02198.51855/5553049.1                                                             Case No. 11-cv-01846-LHK (PSG)
                                                                -1-
                                       [PROPOSED] ORDER GRANTING SAMSUNG’S ADMIN. MOTION TO FILE UNDER SEAL
                        Case 5:11-cv-01846-LHK Document 2496-2 Filed 10/07/13 Page 2 of 2




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                   2 DATED:     ______________, 2013

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                   5                                          Honorable Lucy H. Koh
                                                              United States District Judge
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02198.51855/5553049.1                                                          Case No. 11-cv-01846-LHK (PSG)
                                                             -2-
                                    [PROPOSED] ORDER GRANTING SAMSUNG’S ADMIN. MOTION TO FILE UNDER SEAL
